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UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
HENRY G. HOBBS, JR.
ACTING UNITED STATES TRUSTEE
REGION 7, SOUTHERN and WESTERN DISTRICTS OF TEXAS
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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                        §       CASE NO.
                                              §
EXCO RESOURCES, INC., et al.,                 §       18-30155 (MI)
                                              §       (Chapter 11)
                                              §       Jointly Administered
       DEBTORS 1                              §

    NOTICE OF RECONSTITUTED COMMITTEE OF UNSECURED CREDITORS

TO THE HONORABLE MARVIN ISGUR
UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW Henry G. Hobbs, Jr., the Acting United States Trustee for Region 7, by and
through the undersigned counsel, who pursuant to 11 U.S.C. § 1102(a) hereby reconstitutes the
Committee of Unsecured Creditors in these cases:




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, include: EXCO Resources, Inc. (2779); EXCO GP Partners Old, LP (1262);
EXCO Holding (PA), Inc. (1745); EXCO Holding MLP, Inc. (1972); EXCO Land Company, LLC
(9981); EXCO Midcontinent MLP, LLC (0557); EXCO Operating Company, LP (1261); EXCO
Partners GP, LLC (1258); EXCO Partners OLP GP, LLC (1252); EXCO Production Company
(PA), LLC (7701); EXCO Production Company (WV), LLC (7851); EXCO Resources (XA), LLC
(7775); EXCO Services, Inc. (2747); Raider Marketing GP, LLC (6366); and Raider Marketing,
LP (4295). The location of the Debtors’ service address is: 12377 Merit Drive, Suite 1700, Dallas,
Texas 75251.
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                 Members                                 Counsel for Member
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Dated: January 25, 2018                    Respectfully Submitted,

                                           HENRY G. HOBBS, JR.
                                           ACTING UNITED STATES TRUSTEE
                                           REGION 7, SOUTHERN and WESTERN
                                           DISTRICTS OF TEXAS

                                           By:    /s/ Hector Duran
                                                  Hector Duran
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by electronic means
on all PACER participants on this 25th day of January, 2018.

                                              /s/ Hector Duran
                                              Hector Duran, Trial Attorney




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